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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                         Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to                      Judge M. Casey Rodgers
 All Cases                                     Magistrate Judge Hope T. Cannon


                              ORDER AND NOTICE

        As part of its payment obligations under the Parties’ Settlement Agreement,

3M has the option to pay $1 billion of the total $6 billion in 3M stock. See MSA I

§ 11.4, ECF No. 3809-1. The Agreement also gives 3M the option of paying cash

in lieu of stock. See id. § 11.12. The Court was recently advised that 3M has elected

to exercise the cash option and, accordingly, will pay the entire $1 billion in cash, in

separate payments, as memorialized in the attached amendment to MSA I. See

Exhibit A. Pursuant to the amendment, this decision is irrevocable. Id.

      SO ORDERED, on this 26th day of January, 2024.



                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE
